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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )      25'(5
               Plaintiff,                    )
                                             )
       vs.                                   )
                                             )      Case No.: 1:21-cr-176
Dina Mawri,                                  )
                                             )
               Defendant.                    )


       Defendant is presently being represented by retained counsel. On October 14, 2021, the

court received a pro se letter from defendant requesting that it appoint counsel to represent her.

(Doc. No. 4). On October 15, 2021, defendant contacted chambers to advise that it can disregard

her letter as she had recently met with her retained counsel and intends to proceed with

him. Consequently, insofar as defendant's pro se letter can be construed as a motion for

appointment of counsel (Doc. No. 40), the court deems it MOOT.

       IT IS SO ORDERED.

       Dated this 18th day of October, 2021.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court
